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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 PRIME THERAPEUTICS LLC,                         Civil File No. 18-CV-2715-ECT-KMM

                          Plaintiff,

 v.
                                                   PARTIES’ STIPULATION FOR
 ASHLEY D. BEATTY and MAXOR                        DISMISSAL WITH PREJUDICE
 NATIONAL PHARMACY SERVICES,
 LLC,

                       Defendants.


       It is hereby stipulated and agreed by and between Plaintiff Prime Therapeutics LLC

and Defendants Ashley D. Beatty and Maxor National Pharmacy Services, LLC that this

matter is dismissed with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of

Civil Procedure, with each party to bear her and their own costs and attorneys’ fees.


 Dated: February 26, 2019                     FAEGRE BAKER DANIELS LLP


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           CASE 0:18-cv-02715-ECT-KMM Doc. 61 Filed 02/26/19 Page 2 of 2




 Dated: February 26, 2019

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